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   Filing         Date      RFP #                           Document Requested                                                              Search Terms
Response to    12/17/2010     1     All documents produced to the Coast Guard, MMS, MB or any No search terms needed.
  Plaintiffs                        Congressional Committee regarding DWH and/or the Macondo Well.
 IROG/RFP                           And all subpoenas and/or requests to which you produced such
                                    documents and ESI. And, all pre-April 20, 2010 filings with the Coast
                                    Guard and MMS
Response to    12/17/2010    2      All documentation submitted by you or on your behalf to your vessel No search terms needed.
  Plaintiffs                        valuation appraiser for purposes of creation of a limitation fund.
 IROG/RFP
Response to    12/17/2010    3      A copy of each pre-casualty condition, class and valuation survey (horizon or dwh) and ((condition or class or valu*) w/10 (“survey value” or assess* or
  Plaintiffs                        performed on the DEEPWATER HORIZON from the time of her analys*))
 IROG/RFP                           construction through April 20, 2010.
Response to    12/17/2010    4      Every document pertaining to the purchase and ownership of the ((purchas* or buy or transfer or deliver* or sale or sell or possess*) and (owner* or
  Plaintiffs                        DEEPWATER HORIZON, including but not limited to any document falcon or hyundai or transocean or purchas*)) w/25 (Horizon or dwh)
 IROG/RFP                           confirming the identity of the purchaser and the actual owner(s) of
                                    the DEEPWATER HORIZON, from the time she left the shipyard
                                    through April 20, 2010.
Response to    12/17/2010    5      Every contract of insurance and/or indemnity, including but not No search terms needed.
  Plaintiffs                        limited to every P&I, Hull, cargo and/or Umbrella or Excess insurance
 IROG/RFP                           policy providing coverage for the DEEPWATER HORIZON as of April
                                    20, 2010.
Response to    12/17/2010    6      Every contract pertaining to the DEEPWATER HORIZON and the No search terms needed.
  Plaintiffs                        work contracted to be performed thereon in force and effect on April
 IROG/RFP                           20, 2010, whether the signatories to any such contract were
                                    performing work aboard the vessel or not.
Response to    12/17/2010    7      The proceeds from any and all insurance claims made by or on No search terms needed.
  Plaintiffs                        behalf of any Transocean entity as a result of the April 20, 2010
 IROG/RFP                           explosion and subsequent sinking of the DEEPWATER HORIZON,
                                    including a copy of any checks, wire transfer confirmations or other
                                    evidence of receipt of said proceeds.
Response to    12/17/2010    8      All vessel documentation pertaining to any other vessels owned or No search terms needed.
  Plaintiffs                        chartered by any entity named as a Complainant in the Complaint for
 IROG/RFP                           Limitation (“limitation complainant”) filed in the Southern District of
                                    Texas bearing Civil Action No. 10-01721 and subsequently
                                    transferred to the Eastern District of Louisiana.
Response to    12/17/2010    9      Every document upon which you base your monetary value of No search terms needed.
  Plaintiffs                        “freight then pending” as part of creation of the limitation fund.
 IROG/RFP
Response to    12/17/2010    10     Any contract containing a hold harmless and/or indemnity obligation No search terms needed.
  Plaintiffs                        pertaining to the April 20, 2010 explosion and subsequent sinking of
 IROG/RFP                           the DEEPWATER HORIZON.
Response to    12/17/2010    11     All documents stating the entire gross cost of chartering the No search terms needed.
  Plaintiffs                        MARIANAS and the DEEPWATER HORIZON from the beginning of
 IROG/RFP                           the Macondo well job until its completion, whether said costs have
                                    been paid in full or not.
Response to    12/17/2010    12     All invoices submitted by limitation complainants to BP for use of any No search terms needed.
  Plaintiffs                        vessels owned, operated and/or controlled by limitation complainants
 IROG/RFP
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Response to    12/17/2010   13   All documents from the following entities to limitation complainants (DWH or horizon or marianas or macondo or mc252 or "mc 252" or block252 or "block
  Plaintiffs                     generated between October 1, 2009 and the date of your answer to 252") and (annulus or cement or centraliz* or “negative pressure” or “pressure test” or
 IROG/RFP                        these interrogatories, pertaining to the Macondo Well, the (shoe w/2 track) or (mud w/5 separator) or (blowout w/3 preventor) or “BOP” or
                                 MARIANAS, the DEEPWATER HORIZON, and/or the April 20, 2010 “EDS”) and (BP or Cameron or Halliburton or HESI or Weatherford or Anadarko
                                 incident and its aftermath:                                          or "Tidewater Marine" or TM or Sperry or Swaco or MOEX or MMS or (mineral* w/3
                                 a) BP                                                                management) or (coast w/2 guard) or USCG or Schlumberger or Kongsberg or
                                 b) Cameron Intl.                                                     Simrad) & da(after 9/30/2009).
                                 c) Halliburton
                                 d) Weatherford
                                 e) Anadarko
                                 f) Tidewater Marine
                                 g) Sperry sun
                                 h) MI Swaco
                                 i) MOEX Offshore Drilling
                                 j) Minerals Management Service
                                 k) United States Coast Guard
                                 l) Schlumberger
                                 m) Kongsberg Maritime or its predecessors, including but not limited
                                 to                          Kongsberg                        Simrad

Response to    12/17/2010   14   All documents provided by limitation complainants to the following Same search as 13.
  Plaintiffs                     entities between October 1, 2009 and the date of your answer to
 IROG/RFP                        these interrogatories, pertaining to the Macondo Well, the
                                 MARIANAS, the DEEPWATER HORIZON, and/or the April 20, 2010
                                 incident and its aftermath:
                                 a) BP
                                 b) Cameron Intl.
                                 c) Halliburton
                                 d) Weatherford
                                 e) Anadarko
                                 f) Tidewater Marine
                                 g) Sperry sun
                                 h) MI Swaco
                                 i) MOEX Offshore Drilling
                                 j) Minerals Management Service
                                 k) United States Coast Guard
                                 l) Schlumberger
                                 m) Kongsberg Maritime or its predecessors, including but not limited
                                 to                          Kongsberg                       Simrad

Response to    12/17/2010   15   Any transcribed or recorded statement taken from any person by or No search terms needed
  Plaintiffs                     on behalf of limitation complainants following the April 20, 2010
 IROG/RFP                        explosion of the DEEPWATER HORIZON.
Response to    12/17/2010   16   All documents and e-mails to and from limitation complainants and (DWH or horizon or marianas or macondo or mc252 or "mc 252" or block252 or "block
  Plaintiffs                     any other entity regarding contractual defense and indemnity in this 252") and (BP or Cameron or Halliburton or HESI or Weatherford or Anadarko or
 IROG/RFP                        cause.                                                               Tidewater Marine or TM or Sperry or Swaco or MOEX) and (defense or indemnity or
                                                                                                      indemnify).
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Response to    12/17/2010   17   All Letters of Undertaking from any underwriter obtained by any No search terms needed.
  Plaintiffs                     limitation complainant after April 20, 2010 to post required security
 IROG/RFP                        pursuant to the Limitation of Liability Act.
Response to    12/17/2010   18   Participation, contribution, comment, input, planning and roles you No search terms needed.
  Plaintiffs                     played in the design of the Macondo well.
 IROG/RFP
Response to    12/17/2010   19   With regard to the activities involving the DEEPWATER HORIZON (horizon or dwh or macondo or mc252 or “mc 252” or block252 or “block 252”) and
  Plaintiffs                     and the Macondo Well, all                                             ((annulus w/5 cement) or (casing w/3 string) or centralis* or “float collar” or (negative
 IROG/RFP                        participation, contribution, comment, input, planning and roles you w/5 test*) or (integrity w/5 parameters) or (mud w/3 gas w/3 separator) or (core w/3
                                 played in the following:                                              pressure) or (mud w/3 program) or (pressure w/3 test) or (cement w/3bond) or cbl or
                                 a) the annulus cement, its application, casing and testing;           (negative w/3 test*) or (bottom* w/5 circulat*)) and date between 1/31/2010 and
                                 b) the production casing string;                                      4/21/2010; (horizon or dwh or macondo or mc252 or “mc 252” or block252 or “block
                                 c) the centralizer equipment;                                         252”) and (temporary w/3 abandonment) and date between 4/15/2010 and 4/21/2010;
                                 d) the float collar at the top of the shoe;                           (horizon or dwh or macondo or mc252 or “mc 252” or block252 or “block 252”) and
                                 e) the negative test procedure;                                       (fifteen or 15) and 4/18/2010
                                 f) well-integrity parameters;
                                 g) the mud gas separator during the well control event;
                                 h) core pressure parameters in the well design;
                                 i) well equipment and operations, mud program and pressure testing
                                 protocols and procedures;
                                 j) the temporary abandonment procedure approved by the MMS on
                                 April 16, 2010;
                                 k) a Cement Bond Log (CBL);
                                 l) Sufficiency of the results of any and all negative tests;
                                 m) Use or non-use of the fifteen (15) centralizers delivered to the
                                 DEEPWATER HORIZON on April 18, 2010; and
                                 n) Performance or non-performance of a bottoms up circulation prior
                                 to commencing the
                                 cementing                    of               the            annulus.

Response to    12/17/2010   20   All Sperry Sun logging data in real time pertaining to the (horizon or dwh or macondo or mc252 or “mc 252” or block252 or “block 252”) and
  Plaintiffs                     DEEPWATER HORIZON                                                    (mud w/3 log*) w/5 (data or reading* or measure*) and date between 3/1/2010 and
 IROG/RFP                                                                                             4/21/2010.
Response to    12/17/2010   21   All activity aboard the DEEPWATER HORIZON produced or Subset of 45.
  Plaintiffs                     transmitted to you from any and all sources from April 14, 2010
 IROG/RFP                        through April 20, 2010.
Response to    12/17/2010   22   All data from Insight Systems proprietary software pertaining to the No search terms needed.
  Plaintiffs                     DWH from February 1, 2010 through April 20, 2010.
 IROG/RFP
Response to    12/17/2010   23   Your knowledge of the Halliburton Opti-Cem models and the results (opticem or opti-cem or (opti w/3 cem)) and (gagliano or jesse)
  Plaintiffs                     thereof performed by Jesse Gagliano from April 14, 2010 through
 IROG/RFP                        April 20, 2010.
Response to    12/17/2010   24   All Open Wells Reports, data or information from BP pertaining to the (horizon or dwh) and ((open w/3 well* w/3 report*) or (lost w/3 tool*) or downhole or
  Plaintiffs                     DEEPWATER HORIZON.                                                    down hole) and bp
 IROG/RFP
Response to    12/17/2010   25   All BOP purchase, utilization, inspections, tests, maintenance, No search terms needed.
  Plaintiffs                     repairs, certification and/or modifications of the BOP for the period
 IROG/RFP                        2001 through 2010
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Response to    12/17/2010   26   All documents and communications regarding or relating to the No search terms needed.
  Plaintiffs                     purchase, utilization, inspections, tests, maintenance, repairs,
 IROG/RFP                        certification and/or modifications of the MODU MARIANAS BOP for
                                 the period 2001 through 2010.
Response to    12/17/2010   27   All research, investigation and/or decision tree analysis performed in (research or investig* or (decision w/4 tree) or oberv* or test* or analys* ) and
  Plaintiffs                     conjunction with the decision not to run a Cement Bond Log on the (((cement w/3 log) or cbl) and (horizon or dwh or macondo or mc252 or “mc 252” or
 IROG/RFP                        Macondo Well.                                                          block252 or “block 252”)) and betweem 4/15/2010 and 4/21/2010.
Response to    12/17/2010   28   All cement testing results prior to pumping the cement at the No search terms needed.
  Plaintiffs                     Macondo well site.
 IROG/RFP
Response to    12/17/2010   29   The mud displacement procedures on the DEEPWATER HORIZON (mud w/3 displac*) and (horizon or dwh or macondo or mc252 or “mc 252” or
  Plaintiffs                     between April 16, 2010 and April 20, 2010                block252 or “block 252”) and date between 4/15/2010 and 4/21/2010.
 IROG/RFP
Response to    12/17/2010   30   The bypass of the Sperry Sun flow meter on the DWH between April (flow w/3 meter) and (horizon or dwh or macondo or mc252 or “mc 252” or block252
  Plaintiffs                     16, 2010 and April 20, 2010.                                     or “block 252”) and date between 4/15/2010 and 4/21/2010.
 IROG/RFP
Response to    12/17/2010   31   The displacement of mud with seawater, thereby reducing the (horizon or dwh or macondo or mc252 or “mc 252” or block252 or “block 252”) and
  Plaintiffs                     hydrostatic pressure head, at the Macondo well site between April Mud w/50 ((sea w/2 water) or seawater) and pressure and date between 4/15/2010
 IROG/RFP                        16, 2010 and April 20, 2010.                                      and 4/21/2010.
Response to    12/17/2010   32   The shutting in of the Macondo well on April 20, 2010.            (horizon or dwh or macondo or mc252 or “mc 252” or block252 or “block 252”) and
  Plaintiffs                                                                                       (shutin or “shut-in” or (shut w/2 in)) and date = 4/20/2010.
 IROG/RFP
Response to    12/17/2010   33   The education, certification, experience and training of the No search terms needed.
  Plaintiffs                     toolpushers, drillers, assistant drillers, subsea personnel and
 IROG/RFP                        dynamic positioning officers aboard the DEEPWATER HORIZON on
                                 April 20, 2010 for the following operations:
                                 a) Well integrity recognition;
                                 b) Well control, response and monitoring;
                                 c) Cement design, placement and testing;
                                 d) Casing centralization;
                                 e) Mud programs and logging;
                                 f) Pressure integrity testing;
                                 g) Hydrostatic balance;
                                 h) BOP operations, inspection and testing;
                                 i) Casing string design;
                                 j) High flow control; and
                                 k)           Mud            gas          separator    operations.

Response to    12/17/2010   34   All educational, training, and policy and procedure documents or No search terms needed.
  Plaintiffs                     materials produced to or received by any or all toolpushers, drillers,
 IROG/RFP                        assistant drillers, subsea personnel and dynamic positioning officers
                                 employed by you regarding operations listed in RFP No. 33.

Response to    12/17/2010   35   The testing and measurement of drilling mud used aboard the (horizon or dwh or macondo or mc252 or “mc 252” or block252 or “block 252”) and
  Plaintiffs                     DEEPWATER HORIZON from January 1, 2010 forward generally (test* or measur* or analys*) w/10 (mud or (mud w/3 pit*)) and date between 1/1/2010
 IROG/RFP                        and the monitoring of the mud pits and the volumes of return on April and 4/21/2010.
                                 20, 2010 between the hours of 13:28 and 21:10 specifically.
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Response to    12/17/2010   36   The fluid flow and drill pipe pressure at every station and position on (horizon or dwh or macondo or mc252 or “mc 252” or block252 or “block 252”) and
  Plaintiffs                     the DEEPWATER HORIZON, including but not limited to the ((fluid w/3 flow) or (pipe w/3 pressure)) and date = 4/20/2010.
 IROG/RFP                        mudlogger console, driller console and all other locations during the
                                 period 20:52 to 21:41 on April 20, 2010.
Response to    12/17/2010   37   The design, installation, operation, maintenance, repair and use of (horizon or dwh) and ((design or instal* or operat* or mainten* or repair or utiliz* or “as
  Plaintiffs                     the mud gas separator (MGS) system on the DWH                           built” or draw* or schema* or specific*) w/25 (msg or (mud w/3 gas w/3 separator))).
 IROG/RFP
Response to    12/17/2010   38   All as built drawings and specifications of the mud gas separator No search terms needed.
  Plaintiffs                     (MGS) system aboard the DWH, including but not limited to the vents
 IROG/RFP                        and flow lines and their diversion paths into the atmosphere.

Response to    12/17/2010   39   Re the fire and gas detection systems, all alarms, the emergency ((horizon or dwh) and (((fire or gas) w/10 detect*) w/10 (system* or alarm*))) or
  Plaintiffs                     disconnect system (EDS), the emergency shutdown system (ESD), ((horizon or dwh) and ((emergency w/3 disconnect) or eds) or ((emergency w/3
 IROG/RFP                        and the electrical and mechanical systems on the DEEPWATER shutdown) or esd)) and date 1/1/2009 – 4/20/2010.
                                 HORIZON.
Response to    12/17/2010   40   All training for the operation, use, interpretation and response to the No search terms needed.
  Plaintiffs                     fire and gas detection system, the EDS, ESD, and all alarms for all
 IROG/RFP                        personnel aboard the DWH on April 20, 2010.
Response to    12/17/2010   41   The analysis, research, investigation and decisions, including (horizon or dwh) and ((marshall w/3 island*) w/25 flag* w/20 vessel).
  Plaintiffs                     operational and financial, to adopt as the flag state the Republic of
 IROG/RFP                        the Marshall Islands or any other international flag.
Response to    12/17/2010   42   All DEEPWATER HORIZON vessel registration and certification No search terms needed.
  Plaintiffs                     documentation
 IROG/RFP
Response to    12/17/2010   43   DEEPWATER HORIZON maintenance, repair and operations No search terms needed.
  Plaintiffs                     manuals and documents regarding, referencing, or relating to all
 IROG/RFP                        mechanical and electrical systems, all fire and gas detection and
                                 alarm systems, and all equipment, gear and appurtenancesof the
                                 DWH.
Response to    12/17/2010   44   All Transocean and/or DEEPWATER HORIZON health, safety and No search terms needed.
  Plaintiffs                     environmental manuals and documents that applied to operations
 IROG/RFP                        aboard the DWH.
Response to    12/17/2010   45   All DEEPWATER HORIZON documents, reports and data of every (dwh or horizon) and date Jan 1, 2010 – April 21, 2010.
  Plaintiffs                     description sent to and from the rig from January 1, 2010 through
 IROG/RFP                        April 21, 2010, including daily drilling reports, morning reports,
                                 purchase orders, repair and maintenance documents, inspection
                                 documents, audit reports, vessel and helicopter transportation
                                 manifests, mud logs, rig inventory and store records.

Response to    12/17/2010   46   All licenses, permits, requests for permits or licenses, authorizations, No search terms needed.
  Plaintiffs                     releases and all other documents generated in connection with the
 IROG/RFP                        right to conduct drilling and exploration operations at the subject well
                                 site.
Response to    12/17/2010   47   All DWH personnel on board (POB) documents for the period from (dwh or horizon) and ((personnel w/4 board) or pob) and date between 12/31/2009
  Plaintiffs                     January 1, 2010 through April 20, 2010                                   and 4/21/2010.
 IROG/RFP
Response to    12/17/2010   48   All American Bureau of Shipping (ABS) audits and inspections of the No search terms needed.
  Plaintiffs                     DWH for the period from its construction through April 20, 2010.
 IROG/RFP
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Response to    12/17/2010   49   All United States Coast Guard audits, inspections, investigations and No search terms needed.
  Plaintiffs                     inquiries with respect to the DEEPWATER HORIZON for the period
 IROG/RFP                        from its construction through April 20, 2010.
Response to    12/17/2010   50   All compensation and payments from BP to you for all products, No search terms needed.
  Plaintiffs                     services, contracts and agreements with respect to the subject well
 IROG/RFP                        up until and through the date of your response to these requests

Response to    12/17/2010   51   All personnel files of every person employed by you aboard the No search terms needed.
  Plaintiffs                     DEEPWATER HORIZON on April 20, 2010
 IROG/RFP
Response to    12/17/2010   52   All notices of claim, associated documents and demands for No search terms needed.
  Plaintiffs                     damages to Transocean from all persons in connection with the
 IROG/RFP                        casualty in suit.
Response to    12/17/2010   53   All purchase, maintenance, inspection, modification and repair cameron w/25 (("tl blowout preventor" or "tl blow out preventor" or "tl bop") and
  Plaintiffs                     documents on any Cameron blowout preventer and its components (inspect* or purchas* or buy or mainten* or modifi* or repair*)) and after 12/31/2003.
 IROG/RFP                        owned, operated or used by you from the date of its purchase until
                                 April 20, 2010.
Response to    12/17/2010   54   All documents and manuals received from Kongsberg Maritime, its (dwh or horizon) and (kongsberg and (mainten* or repair or replac* or modific* or
  Plaintiffs                     agents, predecessors (including but not limited to Kongsberg inspect) w/25 (manual* or guide*)).
 IROG/RFP                        Simrad), and/or successors, with respect to all hardware, software
                                 and operating systems aboard the DEEPWATER HORIZON,
                                 including all maintenance, inspection, repair, replacement and
                                 modifications
Response to    12/17/2010   55   All documents and manuals received from any third party other than (dwh or horizon) and ((mainten* or repair or replac* or modific* or inspect) w/25
  Plaintiffs                     Kongsberg Maritime, its agents ..., with respect to all hardware, (manual* or guide*)) and (ABB or BRANDT or CAMERON or CAPROCK or
 IROG/RFP                        software and operating systems aboard the DEEPWATER CATERPILLAR or EMSCO or DELL or DMS or DRECO or DRILCO or Eaton or
                                 HORIZON.                                                           Emmerson or FASSMER or FURUNO or GARDNER or GE or “GENERAL ELECTRIC”
                                                                                                    or “GENIE INDUSTRIES” or PRIDECO or GRAYSPIN or HAMWORTHY or HERNIS
                                                                                                    or “HI-PRESS” or HITEC or HYDRALIFT or “HYDRIL COMPANY” or HYSTER or
                                                                                                    HYUNDAI or INDUSTR or INGERSOLL or “JET EQUIPMENT” or KAMEWA or
                                                                                                    LIEBHERR or “MARTIN DECKER” or MATHEY or “NATIONAL OILWELL” or
                                                                                                    Oceaneering or “OIL STATES” or OMSCO or Palfinger or PATCO or Rochester or
                                                                                                    SAILOR or SHAFFER or SMITH or Sperre or (STEWART w/1 STEVENSON) or
                                                                                                    SWACO or Unitor or VARCO or VETCO or VICTOR or WARTSILA or WESTFALIA).

Response to    12/17/2010   56   All documents regarding all inspections, maintenance, repairs, (dwh or horizon) and ((mainten* or repair or replac* or modific* or inspect) and (cyber
  Plaintiffs                     modifications and/or replacements of the driller Cyber chairs and w/5 chair*)) and date 1/1/2008 and 4/20/2010.
 IROG/RFP                        their hardware, software and operating systems in use during 2009
                                 and 2010.
Response to    12/17/2010   57   The procedure, training, protocol, rules, guidelines and/or policies for (procedur* or protocol* or rule* or guideline* or polic*) and ((well w/3 control) or
  Plaintiffs                     well control procedures, including conducting a positive and negative “pressure test” or (( NPT or PPT) w/3 test)) and (dwh or horizon) and date 1/1/2005 –
 IROG/RFP                        test during drilling operations.                                         4/20/2010.
Response to    12/17/2010   58   All contracts identified by you in response to IROG No. 6. IROG 6: No search terms needed.
  Plaintiffs                     Identify by name and job title every employee who had the authority
 IROG/RFP                        to negotiate and enter into contracts on your behalf generally. For
                                 any person who had said authority, please identify by name and date
                                 of execution any contracts that he/she negotiated, approved and/or
                                 signed for regarding any activity aboard the DEEPWATER HORIZON
                                 at the Macondo well site.
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Response to    12/17/2010   59   The maintenance or non-maintenance of a stand-by or rig abandon (mainten* or repair or replac* or modific* or inspect) and ((standy or “stand-by” or
  Plaintiffs                     rescue vessel for the DWH and/or for any MODU owned and/or (stand w/3 by) or abandon) w/5 (vessel or boat)) and ((mobile w/3 offshore w/3 unit) or
 IROG/RFP                        operated by you from 2000 through the present.                                 modu) and date after 12/31/2009.
Response to    12/17/2010   60   All documents identified in your answer to Interrogatory No. 11. No search terms needed.
  Plaintiffs                     IROG 11: The data and information you regularly received from
 IROG/RFP                        anyone involved in daily operations aboard the DWH, including but
                                 not limited to BP, Sperry Sun, Halliburton, Weatherford, Cameron,
                                 Schlumberger, and Kongsberg Simrad.
Response to    12/17/2010   61   Documents regarding or relating to your entitlement to exoneration No search terms needed.
  Plaintiffs                     from liability or, in the alternative, your entitlement to limit its liability
 IROG/RFP                        (i.e., lack of privity and knowledge of vessel-based negligent conduct
                                 or unseaworthiness) in this cause
Response to    12/17/2010   62   The survey value of all vessels and their pending freight in your No search terms needed.
  Plaintiffs                     deepwater fleet as of April 20, 2010
 IROG/RFP
Response to    12/17/2010   63   The procedure, training, protocol, rules, guidelines and/or policies for (procedur* or protocol* or rule* or guideline* or polic*) and (("pressure test" or
  Plaintiffs                     testing any function of the BOP                                          "function test") w/20 ((blowout or (blow w/2 out) w/3 preventor) or bop)).
 IROG/RFP
Response to    12/17/2010   64   The procedure, training, protocol, rules, guidelines and/or policies for (procedur* or protocol* or rule* or guidline* or polic*) and (test* w/20 ((emergency w/3
  Plaintiffs                     testing any function of the rig emergency disconnect system.             disconnect) or eds)).
 IROG/RFP
Response to    12/17/2010   65   Any warning, finding or citation by a governmental or regulatory No search terms needed.
  Plaintiffs                     agency that you violated a safety law or regulation in connection with
 IROG/RFP                        the DWH and/or any other MODU owned/operated by you in the Gulf
                                 of Mexico for the 10 years leading up to and including April 20, 2010.

Response to    12/17/2010   66   All original well plans, engineering designs, hazard assessmentsand (“well plan” or “application for permit to drill” or APD or “application for revised well” or
  Plaintiffs                     peer review critical analysis pertaining or relating to the design and “application to bypass” or “initial exploration plan”) and (macondo or mc252 or “mc
 IROG/RFP                        drilling of the Macondo well.                                          252” or block252 or “block 252”) and date greater than 12/31/2008.

Response to    12/17/2010   67   All original plans, engineering designs, hazard assessments and No search terms needed.
  Plaintiffs                     peer review critical analysis pertaining or relating to the design and
 IROG/RFP                        operation of the DWH.
Response to    12/17/2010   68   All documents and communications by and between you and any No search terms needed.
  Plaintiffs                     person or firm from whom you have solicited expert advice and/or
 IROG/RFP                        opinions regarding operations aboard the DWH from January 1,
                                 2010 and/or the cause(s) of the explosions on April 20, 2010 and
                                 subsequent sinking of the DWH.
Response to    12/17/2010   69   Any document generated as a result of a formal or informal No search terms needed.
  Plaintiffs                     investigation of the events that took place aboard the DEEPWATER
 IROG/RFP                        HORIZON on April 20, 2010, whether said investigation was
                                 performed by you, on your behalf or by a third party
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Response to      12/17/2010   70   All documentation evidencing the base salary and any bonuses of No search terms needed.
  Plaintiffs                       each of the following individuals and whether said salary or bonuses
 IROG/RFP                          were fixed or contingent upon job and/or rig performance:
                                   a) Paul Johnson
                                   b) James Kent
                                   c) Billy Stringfellow
                                   d) Buddy Trahan
                                   e) Daun Winslow
                                   f) Jimmy Harrell
                                   g) Curt Kuchta
                                   h) Adrian Paul Rose
                                   i) Mike Wright
                                   j)                         Christopher                         Young


Response to      12/17/2010   71   All documents relating to the training, protocol, authority and/or ((safe* or “best practices” or require* or training or instruct* or education or class* or
  Plaintiffs                       procedure of any of your employees to set the status of any alarm seminar or manual or briefing or policy or procedure* or regulation* or guide* or
 IROG/RFP                          system referenced in IROG 12. IROG 12: For every MODU, owned practice* or safe* or risk or protocol*) w/50 (manual or rule or pamphlet or memo* or
                                   and operated by you between 2006 and the present day which has a warning)) and (“alarm system” or “fire alarm” or “gas alarm” or “emergency alarm” or
                                   fire and gas alarm system, an emergency shutdown system, a “EDS” or “ESD”) and (macondo or mc252 or "mc 252" or block252 or "block 252" or
                                   general alarm and/or a Simrad system, please identify by name and horizon or marianas or dwh) & da(after 12/31/2000).
                                   job position each and every one of your employees who had the
                                   authority to set the status of any or all of these alarm systems.

Response to      12/17/2010   72   All documents regarding, referencing, or relating to what your (“well control handbook” or “HQS-OPS-HB-01”) and kick.
  Plaintiffs                       employees are trained to do upon recognition of a well “kick.”
 IROG/RFP
Response to      12/17/2010   73   All well control events which have occurred aboard any MODU “well control event” and (“blow-out” or leak* or injur* or damage* or accident* or
  Plaintiffs                       owned and/or operated by you during the period 2000 through the problem or disaster).
 IROG/RFP                          present day.
Response to      12/17/2010   74   All financial statements, SEC reporting forms, 10Q forms, 10K forms No search terms needed.
  Plaintiffs                       and other public information regarding your financial status for the
 IROG/RFP                          years 2005 through 2010.
Response to      12/17/2010   75   All vessel documentation relating to each Mobile offshore Drilling No search terms needed.
  Plaintiffs                       Unit, owned and operated by you and registered under the flag of the
 IROG/RFP                          Marshall Islands
Response to      12/17/2010   76   All documents relied upon by each rebuttal and/or impeachment No search terms needed.
  Plaintiffs                       witness identified in your answer to Interrogatory No. 29 in his/her
 IROG/RFP                          testimony
Response to      2/16/2011    77   Every document provided to, sent to, or received from Lloyd’s Lloyd's register AND (study or invest* OR report OR audit) and date (greater or equal
Plaintiffs 1st                     Register Group pertaining to any investigation, study, internal audit, to 1/1/09)
 Supp. RFP                         or report conducted by Lloyd’s Register Group since January 1, 2009
                                   on your behalf.
Response to      2/16/2011    78   Every final report, including all drafts, of any investigation, study, or No search terms needed.
Plaintiffs 1st                     internal audit conducted by Lloyd’s Register Group since January 1,
 Supp. RFP                         2009 on your behalf.
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Response to      2/16/2011   79   Every one of your employees who participated in or was interviewed No search terms needed.
Plaintiffs 1st                    by any representative or agent from Lloyd’s Register Group in
 Supp. RFP                        connection with any investigation, study, internal audit, or report
                                  conducted by Lloyd’s Register Group since January 1, 2009 on your
                                  behalf.
Response to      4/1/2011    80   The reports, findings, conclusions, and results of the survey of the No search terms needed.
Plaintiffs 2nd                    DWH referenced on page 28 of the 10-k filed by Transocean Ltd. on
 Supp. RFP                        February 28, 2011.
Response to      4/1/2011    81   Documents and communications relating to or concerning the survey No search terms needed.
Plaintiffs 2nd                    of the DWH referenced on page 28 of the 10-k filed by Transocean
 Supp. RFP                        Ltd. on February 28, 2011.
Response to      4/1/2011    82   The recovery, salvage, or removal of all or part of the Deepwater No search terms needed.
Plaintiffs 2nd                    Horizon from the seafloor.
 Supp. RFP
Response to      4/12/2011   83   All documents pre-dating the blowout that relate to or concern the (macondo or mc252 or “mc 252” or block252 or “block 252”) and (((formation or pore)
Plaintiffs 3d                     anticipated formation pressures for the Macondo well along with any w/1 pressure) OR PP OR gradient) and date (between 1/1/2009 and 4/20/2010)
 Supp. RFP                        documents indicating whether such anticipated pressures where of
                                  static or dynamic flow pressures
Response to      4/12/2011   84   All documents that were provided to you prior to the blowout Same as 83.
Plaintiffs 3d                     regarding the anticipated formation pressures for the Macondo well.
 Supp. RFP
Response to      4/12/2011   85   All documents reflecting how the anticipated pressures for the Same as 83.
Plaintiffs 3d                     Macondo well were utilized in the selection or approval of the
 Supp. RFP                        Deepwater Horizon Blowout Preventer or any component part of the
                                  Deepwater Horizon Blowout Preventer
Response to      4/12/2011   86   All documents that relate to or concern any knowledge or notice you (DWH or Horizon) w/25 ("blowout preventor" or "blowout preventer" or "blow out
Plaintiffs 3d                     had prior to the blowout regarding the nature, type, model, adequacy, preventor" or "blow out preventer" or bop)
 Supp. RFP                        and configuration of the Deepwater Horizon Blowout Preventer or any
                                  component part
Response to      4/12/2011   87   Documents that relate to or concern any input, evaluations, Same as 86.
Plaintiffs 3d                     communications, or discussions you had with BP, Cameron, or
 Supp. RFP                        anyone else prior to the blowout regarding the nature, type, model,
                                  adequacy, and configuration of the Deepwater Horizon Blowout
                                  Preventer or any component part.
Response to      4/12/2011   88   Documents that relate to or concern any of the considerations or Same as 86.
Plaintiffs 3d                     factors that went into the selection of the Deepwater Horizon Blowout
 Supp. RFP                        Preventer for use on wells drilled by the Deepwater Horizon.

Response to      4/12/2011   89   Any patents or patent applications that were submitted or granted Same as 86.
Plaintiffs 3d                     prior to the blowout that relate to or concern Blowout Preventers
 Supp. RFP                        similar to the Deepwater Horizon Blowout Preventer.
Response to      4/12/2011   90   Documents that reflect or indicate the pressure rating for the Same as 86.
Plaintiffs 3d                     Deepwater Horizon Blowout Preventer or any component part
 Supp. RFP
Response to      4/12/2011   91   Documents that reflect or indicate who designed, manufactured, and Same as 86.
Plaintiffs 3d                     distributed the Deepwater Horizon Blowout Preventer or any
 Supp. RFP                        component part.
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Response to     4/12/2011    92   All documents that reflect or indicate the date of manufacture and Same as 86.
Plaintiffs 3d                     sale of the Deepwater Horizon Blowout Preventer or any component
 Supp. RFP                        part
Response to     4/12/2011    93   Documents that reflect or indicate who purchased and sold the Same as 86.
Plaintiffs 3d                     Deepwater Horizon Blowout Preventer or any component part
 Supp. RFP
Response to     4/12/2011    94   Technical manuals, operating instructions, capability warnings, Same as 86.
Plaintiffs 3d                     operational limits warnings, or other warnings that relate to or
 Supp. RFP                        concern the Deepwater Horizon Blowout Preventer or any component
                                  part
Response to     4/12/2011    95   Documents that relate to or concern any tests, analyses, or Same as 86.
Plaintiffs 3d                     evaluations that were used to determine the pressure rating and
 Supp. RFP                        capacity for the Deepwater Horizon Blowout Preventer or any
                                  component part
Response to     4/12/2011    96   Documents that relate to or concern any tests, analyses, or Same as 86.
Plaintiffs 3d                     evaluations of the ability of the Deepwater Horizon Blowout Preventer
 Supp. RFP                        or any component part to function with a dynamic flow pressure less
                                  than, equal to, or exceeding the rated pressure of the Deepwater
                                  Horizon Blowout Preventer or any component part
Response to     4/12/2011    97   Documents that reflect the criteria for activation of any EDS functions Same as 86.
Plaintiffs 3d                     on the Deepwater Horizon Blowout Preventer, including the number
 Supp. RFP                        of EDS functions that were programmed into the Deepwater Horizon
                                  Blowout Preventer, the exact sequence necessary to activate the
                                  EDS functions, the exact sequence of items that would have to occur
                                  as prerequisites to the activation of each sequence, and the exact
                                  sequence that would occur upon activation.

Response to     4/12/2011    98   Documents that reflect the criteria for activation of any Same as 86.
Plaintiffs 3d                     AMF/Deadman functions for the Deepwater Horizon Blowout
 Supp. RFP                        Preventer, including the number of AMF/Deadman functions that
                                  were programmed into the Deepwater Horizon Blowout Preventer,
                                  the exact sequence necessary to activate the AMF/Deadman
                                  functions, the exact sequence of items that would have to occur as
                                  prerequisites to the activation of each sequence, and the exact
                                  sequence that would occur upon activation.

Response to     4/12/2011    99   Documents that reflect the criteria for activation of any auto-shear Same as 86.
Plaintiffs 3d                     functions for the Deepwater Horizon Blowout Preventer, including the
 Supp. RFP                        number of auto-shear functions that were programmed into the
                                  Deepwater Horizon Blowout Preventer, the exact sequence
                                  necessary to
                                  activate the auto-shear functions, the exact sequence of items that
                                  would have to occur as prerequisites to the activation of each
                                  sequence, and the exact sequence that would occur upon activation.

Response to     4/12/2011   100   Documents that relate to or concern whether acoustic activation Same as 86.
Plaintiffs 3d                     devices for Blowout Preventers were available prior to the blowout.
 Supp. RFP
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Response to     4/12/2011   101   Documents that relate to or concern whether countries other than the (("blowout preventer" or "blowout preventor" or "blow out preventer" or "blow out
Plaintiffs 3d                     United States require Blowout Preventers to be equipped with preventor" or BOP) w/5 acoustic) w/25 (require* or reg* or code or rule* or law)
 Supp. RFP                        acoustic activation devices
Response to     4/12/2011   102   Documents that relate to or concern the ROV hot stab options that (("blowout preventer" or "blowout preventor" or "blow out preventer" or "blow out
Plaintiffs 3d                     were available prior to the blowout for Blowout Preventers similar to preventor" or BOP) w/5 (rov w/5 stab))
 Supp. RFP                        the Deepwater Horizon Blowout Preventer
Response to     4/12/2011   103   Documents that relate to or concern whether the use of mud gas ((EDS OR "emergency disconnect") w/25 ("mud gas separator" or mgs OR diverter))
Plaintiffs 3d                     separators or diverter systems can affect activation of the EDS and (affect* or effect* or hinder or prevent or interf*)
 Supp. RFP                        system.
Response to     4/12/2011   104   Documents that relate to or concern whether the use of mud gas ((amf or deadman) w/25 ("mud gas separator" or mgs OR diverter)) and (affect* or
Plaintiffs 3d                     separators or diverter systems can affect the activation of effect* or hinder or prevent or inter*)
 Supp. RFP                        AMF/Deadman system.
Response to     4/12/2011   105   Documents that relate to or concern whether the use of mud gas (("auto-shear" or autoshear) w/25 ("mud gas separator" or mgs OR diverter)) and
Plaintiffs 3d                     separators or diverter systems can affect the activation of auto-shear (affect* or effect* or hinder or prevent or interf*)
 Supp. RFP                        system
Response to     4/12/2011   106   Documents that relate to or concern whether the hydraulic system for Same as 86.
Plaintiffs 3d                     the ROV hot stab function on the Deepwater Horizon Blowout
 Supp. RFP                        Preventer was modified, changed, or altered in connection with the
                                  2004 conversion of the lower VBR to a test ram.

Response to     4/12/2011   107   Documents that relate to or concern the original design and Same as 86.
Plaintiffs 3d                     manufacture specifications for the Deepwater Horizon Blowout
 Supp. RFP                        Preventer or any component part of the Deepwater Horizon Blowout
                                  Preventer, including capability limits for suppressing well
                                  hydrocarbon flow rate, static and dynamic well pressure, well
                                  temperatures, and all well suppression redundancy capabilities

Response to     4/12/2011   108   Documents that relate to or concern any publications describing the Same as 86.
Plaintiffs 3d                     intended use and limitations of the Deepwater Horizon Blowout
 Supp. RFP                        Preventer, including marketing materials and regulatory agency
                                  requirements.
Response to     4/12/2011   109   Documents that relate to or concern whether the Deepwater Horizon Same as 86.
Plaintiffs 3d                     Blowout Preventer or any component part was designed to or could
 Supp. RFP                        stop or suppress hydrocarbon flow, static or dynamic pressure, or
                                  well temperatures such as those present in the Macondo well on
                                  April 20, 2010.
Response to     4/12/2011   110   Documents that relate to or concern any guidelines or Same as 86.
Plaintiffs 3d                     recommendation for inspections, maintenance, repairs, or
 Supp. RFP                        replacement of the Deepwater Horizon Blowout Preventer or any
                                  component part.
Response to     4/12/2011   111   All communications, presentations, lessons learned, notices, and ((Macondo OR MC252 OR "MC 252" OR block252 OR "Block 252") and (kick or
Plaintiffs 3d                     investigative materials that relate to or concern the March 8, 2010 "march 8" or "march 8th"))' SCOPE 'F01128_Castor_Review' AND [FTI] Family Dates
 Supp. RFP                        kick at the Macondo well                                              UTC - GREATER OR EQUAL '8-MAR-2010'
Response to     4/12/2011   112   Documents that relate to or concern any reviews or analyses of your (review OR analys*) w/15 ("safety management" OR "safety culture" OR "safety
Plaintiffs 3d                     safety management system, safety culture, safety climate, or climate" OR ((employee or personnel) w/2 (qualifi* OR train*)))and (date greater than
 Supp. RFP                        employee training and qualifications since January 1, 2009, including or equal to 1/1/2009)
                                  any reviews or analyses conducted by Lloyd's Register, ModuSpec,
                                  or any affiliated companies.
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Response to     4/12/2011      113     Documents that relate or pertain to any inspection, testing, Same as 86.
Plaintiffs 3d                          maintenance, repair and/or other post-sale warnings or
 Supp. RFP                             communications by and/or from Cameron regarding the BOP in
                                       question from the time of initial manufacture and sale to April 20,
                                       2010.
Response to     11/15/2010    RFP 1    All documents produced to the Coast Guard, MMS, MB or any No search terms needed.
 Plaintiffs                            Congressional Committee regarding DWH and/or the Macondo Well.
 Omnibus                               And all subpoenas and/or requests to which you produced such
                                       documents and ESI. And, all pre-April 20, 2010 filings with the Coast
                                       Guard and MMS
Response to     11/15/2010    RFP 2    Insurance policies, including declaration sheets, which may provide No search terms needed.
 Plaintiffs                            insurance or indemnity for claims associated with the Deepwater
 Omnibus                               Horizon and/or the Macondo Well. Also any reservation of rights
                                       letters.
Response to     11/15/2010    RFP 3    Drilling contracts, service agreements, mineral lease and/or mineral No search terms needed.
 Plaintiffs                            rights and/or royalty agreements, joint operation and/or exploration
 Omnibus                               and/or production and/or joint-venture agreements, indemnity
                                       agreements, and/or charter agreements, relating or pertaining to the
                                       Macondo Prospect, the Deepwater Horizon, and/or the Macondo
                                       Well.
Response to     11/15/2010    RFP 4    AFEs, well plans, and drilling and/or completion protocols,           ("well plan" or "application for permit to drill" or apd or AFE or "application for revised
 Plaintiffs                            relating or pertaining to the Macondo Prospect, the Deepwater well" or (application w/2 bypass) or "initial exploration plan" or "completion protocol" or
 Omnibus                               Horizon, and/or the Macondo Well.                                     "drilling protocol" or "temporary abandonment plan") and (macondo or mc252 or "mc
                                                                                                             252" or block252 or "block 252")
Response to     11/15/2010    RFP 5    Design specifications for the Deepwater Horizon, including diagrams, No search terms needed.
 Plaintiffs                            photographs and schematics of the vessel, the decks, and the BOP.
 Omnibus
Response to     11/15/2010   IROG 1 / Nature of any safety mechanism or emergency shut-off valve, No search terms needed.
 Plaintiffs                   RFP 6 system, or mechanism, including any Emergency Disconnect System
 Omnibus                              (“EDS”) and/or “dead man” system, as well as any information
                                      relating to any inhibitor or override of any safety and/or alarm
                                      system, with a full account of the intended functional purpose and
                                      capability, maintenance performed or scheduled, inspections and
                                      known problems of the same.
Response to     11/15/2010    RFP 7 Real-time data feeds, data dumps, e-mails, and/or other              No search terms needed.
 Plaintiffs                           electronic communications to, from and/or regarding the
 Omnibus                              navigational, drilling, completion, temporary abandonment or other
                                      operations of the Deepwater Horizon and/or the Macondo Well from
                                      February 20, 2010 thru April 21, 2010
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Response to   11/15/2010   IROG 2 / [a] the name, employer, address, job title, job description, immediate No search terms needed.
 Plaintiffs                 RFP 8 supervisor, and direct subordinates, of
 Omnibus                                 (i) all persons providing testimony to the Coast Guard / MMS
                                    /MBI or to any committee or sub-committee of the United States
                                    Congress, and
                                        (ii) all officers or employees responsible for services provided in
                                    association with the navigational, drilling, completion, temporary
                                    abandonment or other operations of the Deepwater Horizon (whether
                                    on the rig or from shore) within forty-eight hours of the casualty.
                                    And, a written transcript of any testimony and all written or recorded
                                    statements prepared or provided by such personnel.

                                     [b] the name, etc., of any and all other officers, employees or
                                     consultants associated with any services provided, and/or drilling
                                     and/or completion and/or temporary abandonment activities
                                     conducted, in association with the Deepwater Horizon, its equipment,
                                     or the Macondo Well.

                                     [c] the name, etc, of any and all other officers … with knowledge
                                     regarding the maintenance, inspection, problems, complaints or
                                     repairs associated with the Deepwater Horizon, its equipment, or the M
Response to   11/15/2010    RFP 9    Org charts reflecting:                                                       No search terms needed.
 Plaintiffs                          a. employees supervising and/or providing services in connection
 Omnibus                             with the Deepwater Horizon and/or the Macondo Well;
                                     b. employees supervising and/or providing services within the Gulf of
                                     Mexico;
                                     c. the officers, directors, members and/or managers of each
                                     Defendant entity;
                                     d. the parents, subsidiaries, sister entities and/or other affiliates of
                                     each Defendant entity;
                                     e.[i] the officers, directors, members and/or managers of the parents,
                                     subsidiaries, sisters and/or other affiliates of each Defendant entity;
                                     and,
                                     e.[ii] the parents, subsidiaries, sister entities and/or other affiliates of
                                     each entity supervising and/or providing services in connection with
                                     the Deepwater Horizon and/or the Macondo Well.

Response to   11/15/2010   IROG 3 / Existence, nature, time, location, custodian, testing, analysis and/or No search terms needed.
 Plaintiffs                 RFP 10 results of any and all water, oil, soil, air, tissue and/or other
 Omnibus                            environmental samples which have been taken or collected in or
                                    around the Gulf of Mexico since the incident
Response to   11/15/2010    RFP 11 Internal or independent root cause analysis and/or self-critical No search terms needed.
 Plaintiffs                         analysis regarding the cause and/or causes of the blow-out,
 Omnibus                            explosion, fire and/or resulting oil spill, including drafts, partial drafts,
                                    initial drafts, etc.
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 Response to      11/15/2010      RFP    Your Information Systems (IS), Management Information System No search terms needed.
  Plaintiffs                   12/IROG 4 (MIS) and/or Information Technology (IT) manuals and/or protocols,
  Omnibus                                and the persons most knowledgeable.

                                         All communications, with the Coast Guard, MMS, MBI, or Congress
                                         relating to RFP No. 1. And, the person with which any such
                                         communications were made,

                                         Identify all sources of alleged “inaccessible” ESI which may contain
                                         potentially relevant information, but is not being reviewed for any
                                         reason.

                                         Your document and/or ESI retention and/or destruction policies in
                                         effect        from          January            1,           2005

 Response to      11/15/2010    RFP 13   RFPs and any documents exchanged, at any time since April 20, No search terms needed.
  Plaintiffs                             2010, between any Defendants.
  Omnibus
 Response to                    RFP 14  Please produce a copy of any and all communications or other (macondo or "mc 252" or mc252 or horizon or dwh) and (capping or cap or capped or
  Plaintiffs                            documents (and/or ESI) containing or reflecting any comment, control or "shut in" or kill* or interven*) and date between April 20, 2010 and
 Omnibus 3rd                            examination, discussion, decision, analysis, instruction and/or September 1, 2010.
                                        implementation of any and all well control, capping, shut in, top kill,
                                        bottom kill and/or other flow termination efforts at the Macondo Well
                                        after April 20, 2010, including any and all geological, technical,
                                        engineering, professional, management, economic and/or other
                                        testing, evaluation, study and/or analysis of any potential method or
                                        technique, including the possible risks, benefits or other
                                        consequences thereof.
      1st         12/1/2010    IROG 2 / [a] the name, employer, address, job title, job description, immediate No search terms needed.
Supp.Response                   RFP 8 supervisor, and direct subordinates, of
  to Plaintiffs                              (i) all persons providing testimony to the Coast Guard / MMS
   Omnibus                              /MBI or to any committee or sub-committee of the United States
                                        Congress, and
                                            (ii) all officers or employees responsible for services provided in
                                        association with the navigational, drilling, completion, temporary
                                        abandonment or other operations of the Deepwater Horizon (whether
                                        on the rig or from shore) within forty-eight hours of the casualty.
                                        And, a written transcript of any testimony and all written or recorded
                                        statements prepared or provided by such personnel.

                                         [b] the name, etc., of any and all other officers, employees or
                                         consultants associated with any services provided, and/or drilling
                                         and/or completion and/or temporary abandonment activities
                                         conducted, in association with the Deepwater Horizon, its equipment,
                                         or the Macondo Well.

                                         [c] the name, etc, of any and all other officers … with knowledge
                                         regarding the maintenance, inspection, problems, complaints or
                                         repairs associated with the Deepwater Horizon, its equipment, or the M
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Response to      4/19/2011      15     All Insurance Polices issued to You or otherwise providing coverage No search terms needed.
Plaintiffs 4th                         or other benefits to You at any time from the year 2000 to the
 Omnibus                               present
Response to      4/19/2011      16     All Insurance Polices as to which You are or were an insured, a No search terms needed.
Plaintiffs 4th                         named insured, or an additional insured at any time from the year
 Omnibus                               2000 to the present.
Response to      4/19/2011      17     All Insurance Policies that may afford You coverage or other benefits No search terms needed.
Plaintiffs 4th                         in connection with the Incident.
 Omnibus
Response to      4/19/2011     IROG   Identify each person either directly employed by You or acting on No search terms needed.
Plaintiffs 4th               8/RFP 18 Your behalf, who was or is responsible for acquiring, placing, or
 Omnibus                              securing Insurance Policies or insurance coverage for You from the
                                      year 2000 to the present, including any such personnel in Your risk
                                      management (or equivalent) department. Please produce all
                                      documents, including organizational charts, relating or pertaining in
                                      any way thereto.
Response to      4/19/2011     IROG   Identify each and every person, including corporate officers, No search terms needed.
Plaintiffs 4th               9/RFP 19 managers, or any other personnel, either directly employed by You or
 Omnibus                              acting on Your behalf, who was or is responsible for handling
                                      insurance claims in connection with the Incident. Please produce all
                                      documents, including organizational charts, relating or pertaining in
                                      any way thereto.
Response to      4/19/2011    RFP 20 All documents (and/or electronic data) reflecting any and all No search terms needed.
Plaintiffs 4th                        communications between You and any insurer or other provider of an
 Omnibus                              Insurance Policy relating to this Incident, in connection with:
                                      (a) notice of claims, or
                                      (b) notice of occurrences, or
                                      (c) notice of facts and circumstances, or
                                      (d) requests or claims for coverage, defense, payment, or indemnity.




Response to      4/19/2011   RFP 21    Documents regarding any investigation or analysis by you of any No search terms needed.
Plaintiffs 4th                         insurance matters relating to Incident.
 Omnibus
Response to      4/19/2011   RFP 22    Documents, including reports, memoranda, or correspondence, No search terms needed.
Plaintiffs 4th                         constituting or regarding any coverage determinations with respect to
 Omnibus                               the Incident.
Response to      4/19/2011   RFP 23    Documents that contain or relate to communications between any No search terms needed.
Plaintiffs 4th                         insurer or anyone acting on an insurer's behalf an You regarding
 Omnibus                               Coverage (and/or indemnity) (and/or other benefits) under any
                                       Insurance Policy in connection with the Incident.
Response to      4/19/2011   RFP 24    Documents identifying in whole or part any insurance agents or No search terms needed.
Plaintiffs 4th                         brokers (including intermediate or third party brokers) involved in the
 Omnibus                               negotiation, sale, underwriting, or placement of any Insurance Policy
                                       that may afford You coverage or other benefits in connection with the
                                       Incident.
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Response to      4/19/2011   RFP 25   Documents reflecting the scope of coverage under any Insurance No search terms needed.
Plaintiffs 4th                        Policy that may afford You coverage or other benefits in connection
 Omnibus                              with the Incident, whether such documents were created before, at
                                      the time of, or after placement of the policies in question.

Response to      4/19/2011   RFP 26   All claims files or other documents pertaining to insurance claims No search terms needed.
Plaintiffs 4th                        relating to the Incident
 Omnibus
Response to      4/19/2011   RFP 27   Documents relating to loss control investigations, site visits, and No search terms needed.
Plaintiffs 4th                        inspections, including such investigations, visits, and inspections
 Omnibus                              relating to oil-drilling activities and the investigation, exploration,
                                      capture, research, development or recovery of petroleum based
                                      natural resources, conducted in connection with the issuance of
                                      Insurance Policies that may afford You coverage or other benefits in
                                      connection with the Incident
Response to      4/19/2011   RFP 28   Documents that contain or relate to communications between You No search terms needed.
Plaintiffs 4th                        and any state insurance commissioner, state attorney general, or any
 Omnibus                              other state insurance regulatory body regarding any policy term(s) for
                                      Insurance Policies that may afford You Coverage or other benefits in
                                      connection with the Incident.
Response to      4/19/2011   RFP 29   Documents that contain or relate to any communications regarding No search terms needed.
Plaintiffs 4th                        reservations of rights or denials of coverage by any insurer in
 Omnibus                              connection with the Incident.
Response to      4/19/2011   RFP 30   Documents regarding arbitrations or other alternative dispute No search terms needed.
Plaintiffs 4th                        resolution proceedings concerning insurance coverage relating to the
 Omnibus                              Incident
Response to      4/19/2011   RFP 31   Documents relating to risk management or insurance claims handling No search terms needed.
Plaintiffs 4th                        for You relating to the Incident.
 Omnibus
Response to      4/19/2011   RFP 32   Documents that relate to the settlement of Incident-related insurance No search terms needed.
Plaintiffs 4th                        claims.
 Omnibus
Response to      4/19/2011   RFP 33   Documents that relate to payments by insurers or the alleged No search terms needed.
Plaintiffs 4th                        consumption, erosion, or exhaustion of policy limits related to the
 Omnibus                              Incident
Response to      4/19/2011   RFP 34   Documents that relate to reinsurance that may afford coverage in No search terms needed.
Plaintiffs 4th                        connection with the Incident.
 Omnibus
Response to      4/19/2011   RFP 35   Documents other than Insurance Policies that provide for indemnity No search terms needed.
Plaintiffs 4th                        or indemnification that may apply in connection with the Incident
 Omnibus
Response to      4/19/2011   RFP 36   Documents (other than Insurance Policies) constituting or relating to No search terms needed.
Plaintiffs 4th                        agreements to which you are a party that provide for indemnification
 Omnibus                              or indemnity that may apply to Incident related claims.
